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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ and ASHTON                     )
    LEE DENNIS, on behalf of                     )
    themselves and all others similarly          )
    situated,                                    )
                                                 )
       Plaintiffs,                               )
                                                 )
    -vs-                                         )   Case No. 18-cv-0298-SPF-JFJ
                                                 )
    VIC REGALADO, Tulsa County                   )
    Sheriff, in his Official Capacity, et al.,   )
                                                 )
       Defendants.                               )
                                                 )

                                           ORDER
           Plaintiffs Richard Feltz and Ashton Lee Dennis have brought this putative
   class action challenging Tulsa County’s pretrial detention system. Presently before
   the court is plaintiffs’ motion seeking class certification and appointment of class
   counsel. Doc. no. 327. Defendants, the presiding and special judges of the District
   Court of Tulsa County, have responded, objecting to the motion. Doc. no. 334.
   Defendant, the sheriff of Tulsa County, has adopted the judicial defendants’
   objection. Doc. no. 335. Plaintiffs have replied. Doc. no. 343.
           For the reasons stated in this order, the motion will be granted.
                                          Background
           The operative complaint is the Second Amended Class Action Complaint.
   Doc. no. 259. According to that complaint, at the time their respective initial
   complaints were filed, plaintiffs were confined, after their arrest, in the Tulsa County
   jail because they did not have enough money to purchase their pretrial release.
   They were jailed pursuant to Tulsa County’s “wealth-based detention scheme” (as
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   plaintiffs call it), which jails people who are unable to satisfy the secured financial
   conditions of release (secured money bail). The secured money bail is usually
   predetermined by Tulsa County’s secured money-bail schedule. Plaintiffs allege
   that no official made any findings concerning plaintiffs’ ability to pay the secured
   money bail, as to the necessity of pretrial detention, or as to the feasibility of
   alternative conditions of pretrial release.
          Plaintiffs allege that at the time the initial complaint was filed, people who
   were arrested on misdemeanor and felony offenses and were unable to pay the preset
   secured money bail had to remain in jail for six or more days before an arraignment,
   which was the first appearance in front of a judicial officer, and that defendants
   refused to address conditions of pretrial release at those arraignments.
             Plaintiffs allege that in response to the initial complaint, the presiding judge
   of Tulsa County District Court created a “bond docket” in October 2018, allowing
   some persons to appear before a special judge after their arrests and before their
   arraignments.1 The bond docket appearance usually occurs within one or two days
   after an arrest.     Plaintiffs allege that despite the creation of the bond docket,
   defendants continue to detain putative class members from arrest to arraignment
   without offering a due-process compliant opportunity to be heard on the issue of
   continued detention. According to the complaint, the putative class members are
   not notified of the importance of the bond docket or their entitlement to present
   argument and evidence, they do not have an opportunity to consult with the attorney,
   momentarily assigned to them, before or during the bond docket, and the special
   judges make no findings concerning the necessity of detention before imposing
   monetary conditions of pretrial release that result in continued detention. Plaintiffs


   1
     In addition, the record reflects that in August of 2019, the District Court of Tulsa County issued
   an amended Local Criminal Rule 2 regarding pre-established bail and initial appearance for
   individuals not otherwise capable of posting the pre-established bail. See, doc. no. 334-23.

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   allege that people who are detained on unaffordable money bail continue to be jailed
   up to six or more days before an arraignment, and they have no opportunity at that
   arraignment to challenge their pretrial detention.
            Plaintiffs allege that written bail-reduction motions filed by counsel and bond
   docket appearances (for some arrestees since October 2018) are the only
   mechanisms for challenging pretrial detention. Plaintiffs allege that appointed
   counsel’s first opportunity to file a motion challenging the money bail condition is
   after counsel has met with the client following the arraignment. Plaintiffs allege
   that arrestees who cannot afford to pay the money bail or hire an attorney are
   detained, without any opportunity to contest their pretrial detentions in a due
   process-compliant forum, for a minimum of eight days after arrest.
            Plaintiffs allege that defendants’ routine practice of requiring arrestees to pay
   unattainable amounts of money to secure their pretrial release is the equivalent of
   issuing orders of detention against them, but without any of the substantive findings
   or procedural safeguards constitutionally required for orders of detention.
            With respect to plaintiffs individually, plaintiffs allege that Mr. Feltz was
   arrested on Saturday, June 2, 2018, for an alleged felony offense.2 Upon arrest, he
   was taken to the Tulsa County sheriff’s office where he was mistakenly told he
   would have to pay $75,000 to be released from jail. A few hours later, he was
   transferred to the Tulsa County jail, and “a Tulsa County sheriff’s officer told him
   that he would have to pay $50,000 to be released from jail.” Doc. no. 259, at 9.
   No one asked him if he could afford to pay that amount. Mr. Feltz could not afford
   to purchase his release from jail. At the time of filing his initial complaint, he




   2
       The record reflects that Mr. Feltz was charged with other offenses.

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   expected to remain in jail until his first appearance before a judicial officer, which
   was scheduled for June 11, 2018, nine days after his arrest.3
          Plaintiffs allege that Mr. Dennis was arrested on Tuesday, December 15,
   2020, for alleged felony offenses. Upon his arrest, he was taken to the Tulsa County
   jail. At the jail, he was told that his bond would be $51,000. No one asked him if
   he could afford to pay that amount. Mr. Dennis could not afford to pay that amount
   because he was unemployed, and his only source of income was social security
   disability benefits.
          On the morning of December 16, 2020, a detention officer took Mr. Dennis to
   a room in the jail with a video feed to a courtroom. In that room, a different
   detention officer told him for the first time that he would appear for a bond hearing
   at which the judge would review his charges and his bond amount.
          At the bond hearing, the special judge informed him that the proceeding was
   a bond hearing, and a public defense attorney was present in the courtroom to
   represent him at the hearing. Mr. Dennis was not offered an opportunity to speak
   with the attorney, and he could not see anyone other than the judge. Mr. Dennis
   observed the judge speaking with others in the courtroom whom he could not see
   but whom he assumed to be an assistant public defender and an assistant district
   attorney. He could not clearly hear the conversation and was unable to understand
   its substance. After the conversation was over, the judge told Mr. Dennis that two
   of his four offenses would be dropped, and his bond would be changed to $4,000.
   No one asked Mr. Dennis if he could afford to pay $4,000. Mr. Dennis could not
   afford to pay a bond of $4,000. No one provided an explanation for setting that


   3
     Mr. Feltz testified at his deposition that he was released on June 9, 2018, and his initial
   arraignment was June 11, 2018. See, doc. no. 334-2, pp. 15-16. The docket sheet for his criminal
   case reflects that a surety bond was posted as of June 11, 2018, with respect to each of the offenses
   charged against him. See, doc no. 334-1.

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   amount. After the bond hearing, Mr. Dennis completed an application with The
   Bail Project, a non-profit organization in Tulsa which posts bonds on behalf of some
   people held in pretrial detention at the Tulsa County Jail. At the time of the filing
   of his initial complaint, he expected to remain in jail at least until his next appearance
   before a judicial officer, which was scheduled for December 21, 2020, six days after
   his arrest.4
          Plaintiffs, on behalf of themselves and all others similarly situated, seek an
   order declaring that the sheriff of Tulsa County and the presiding judge of the
   District Court of Tulsa County violate plaintiffs’ equal protection rights and due
   process protections against wealth-based detention by detaining and jailing plaintiffs
   because they cannot afford a monetary payment, and that the sheriff, the presiding
   judge and the special judges detain and jail plaintiffs without providing procedural
   due process protections. They seek an order enjoining the sheriff and the presiding
   judge from using secured financial conditions of pretrial release without ensuring
   due process-compliant procedures and findings.
          In their complaint and in their motion, plaintiffs request certification of a class,
   seeking prospective declaratory and injunctive relief, under Rule 23(b)(2), Fed. R.
   Civ. P. Plaintiffs also seek the appointment of their counsel as class counsel under
   Rule 23(g), Fed. R. Civ. P. In their motion, plaintiffs propose a class defined as
   follows:
                  All people who are or will be detained prior to their initial
                  arraignment in the Tulsa County Jail because they are
                  unable to pay a secured financial condition of release.5



   4
     The record reflects that a cash bond was posted for Mr. Dennis by The Bail Project, and he was
   released on or about December 23, 2020. Doc. nos. 334-6 and 334-9.
   5
     In their complaint, plaintiffs’ proposed class did not include the language “prior to their initial
   arraignment.”

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                                     Standard of Decision
            The standard for certifying a class action appears in Rule 23, Fed. R. Civ. P.
   Adamson v. Bowen, 855 F.2d 668, 675 (10th Cir. 1988). Initially, the court must
   determine whether the four threshold requirements of Rule 23(a) – numerosity,
   commonality, typicality, and adequacy – are met. Id. If the court determines that
   they are, it must then examine whether the action falls within one of the three types
   of classes set forth in Rule 23(b). Id. A court may certify a class if the proposed
   class satisfies the requirements of Rule 23(a), and the requirements of one of the
   types of classes in Rule 23(b). DG ex rel. Stricklin v. Devaughn, 594 F.3d 1188
   (10th Cir. 2010). The party seeking class certification bears the burden of proving
   that Rule 23’s requirements are satisfied. Shook v. El Paso County (Shook I), 386
   F.3d 963, 968 (10th Cir. 2004).
            In deciding whether the proposed class meets Rule 23’s requirements, the
   court must accept the substantive allegations of the complaint as true, although it
   need not blindly rely upon conclusory allegations which parrot Rule 23. Shook I,
   386 F.3d at 968. The court may probe beyond the pleadings and examine the facts
   and evidence in the case. Tabor v. Hilti, Inc., 703 F.3d 1206, 1227-28 (10th Cir.
   2013). While the “court’s class-certification analysis must be ‘rigorous’ and may
   ‘entail some overlap with the merits of the plaintiffs[’] underlying claim,’ [], Rule
   23 grants [the court] no license to engage in free-ranging merits inquiries at the
   certification stage.” Amgen Inc. v. Connecticut Retirement Plans and Trust Funds,
   568 U.S. 455, 465-66 (2013) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338
   (2011)). “Merits questions may be considered to the extent–but only to the extent–
   that they are relevant to determining whether the Rule 23 prerequisites for class
   certification are satisfied.” Id. at 466 (citing Wal-Mart Stores, Inc., 564 U.S. at 351,
   n. 6).



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          Plaintiffs seek to certify a class under Rule 23(b)(2), which applies when “the
   party opposing the class has acted or refused to act on grounds that apply generally
   to the class, so that final injunctive relief or corresponding declaratory relief is
   appropriate respecting the class as a whole.”         Rule 23(b)(2), Fed. R. Civ. P.
   “Rule 23(b)(2) ‘imposes two independent but related requirements’ upon those
   seeking class certification.” Devaughn, 594 F.3d at 1199 (quoting Shook v. Board
   of County Commissioners of County of El Paso (Shook II), 543 F.3d 597, 604 (10th
   Cir. 2008)). “First, plaintiffs must demonstrate defendants’ actions or inactions are
   ‘based on grounds generally applicable to all class members.’” Id. “Second,
   plaintiffs must also establish the injunctive relief they have requested is ‘appropriate
   for the class as a whole.’” Id. (emphasis in original).
          According to the Tenth Circuit, these two Rule 23(b)(2) requirements,
   together, demand “‘cohesiveness among class members with respect to their
   injuries[.]’”    Devaughn, 594 F.3d at 1199 (quoting Shook II, 543 F.3d at 604).
   And “[t]his cohesiveness, in turn, has two elements.” Id. “First, plaintiffs must
   illustrate the class is ‘sufficiently cohesive that any classwide injunctive relief’
   satisfies [the requirement of Rule 65(d), Fed. R. Civ. P.] that every injunction ‘state
   its terms specifically; and describe in reasonable detail . . . the act or acts restrained
   or required.’”     Id. (quoting Shook II, 543 F.3d at 604, quoting Rule 65(d)).
   “Second, cohesiveness also requires that class members’ injuries are ‘sufficiently
   similar’ that they can be remedied in a single injunction without differentiating
   between class members. Id. Rule 23(b)(2) therefore demands that “plaintiffs
   describe in reasonably particular detail the injunctive relief they seek ‘such that the
   district court can at least ‘conceive of an injunction that would satisfy [Rule 65(d)’s]
   requirements,’ as well as the requirements of Rule 23(b)(2).” Id. (quoting Shook
   II, 543 F.3d at 605, quoting Monreal v. Potter, 367 F.3d 1224, 1236 (10th Cir. 2004)).



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         Lastly, “‘[t]he decision to grant or deny certification of a class belongs within
   the discretion of the trial court.’” Monreal, 367 F.3d at 1235 (quoting Reed v.
   Bowen, 849 F.2d 1307, 1309 (10th Cir. 1988)).
                                          Analysis
   Rule 23(a) Requirements
         A class may be certified only if the following four threshold requirements are
   met: (1) “the class is so numerous that joinder of all members is impracticable”
   (numerosity); (2) “there are questions of law or fact common to the class”
   (commonality); (3) “the claims or defenses of the representative parties are typical
   of the claims or defenses of the class” (typicality); and (4) “the representative parties
   will fairly and adequately represent the interests of the class” (adequacy). Rule
   23(a), Fed. R. Civ. P.
   Numerosity
         To satisfy the numerosity requirement, plaintiffs must establish that “‘the
   class is so numerous as to make joinder impracticable.’” Trevizo v. Adams, 455
   F.3d at 1155, 1162 (10th Cir. 2006) (quoting Peterson v. Okla. City Housing Auth.,
   545 F.2d 1270, 1273 (10th Cir. 1976)). “The numerosity requirement requires
   examination of the specific facts of each case and imposes no absolute limitations.”
   Colorado Cross Disability Coalition v. Abercrombie & Fitch Co., 765 F.3d 1205,
   1214 (10th Cir. 2014) (quotation marks and citation omitted). “Plaintiffs must offer
   ‘some evidence of established, ascertainable numbers constituting the class,’ but
   there is ‘no set formula to determine if the class is so numerous that it should be so
   certified.’” Id. (quoting Rex v. Owens ex rel. Okla., 585 F.2d 432, 436 (10th Cir.
   1978)). In addition, “the numerosity requirement is not ‘a question of numbers.’”
   Id. (citing Horn v. Associated Wholesale Grocers, Inc., 555 F.2d 270, 275 (10th Cir.
   1977)). There are several factors relevant to the impracticability issue, including
   the nature of the action, the location of the members of the class, the financial

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   resources of class members and the ability of the class members to institute
   individual lawsuits, the relative ease or difficulty in identifying class members, and
   judicial economy. Id., see also, Colorado Cross-Disability Coalition v. Taco Bell
   Corp., 184 F.R.D. 354, 355 (D. Colo. 1999); Yazzie v. Ray Vickers’ Special Cars,
   Inc., 180 F.R.D. 411, 415 (D.N.M. 1998).
         Plaintiffs suggest several bases upon which they have satisfied the numerosity
   requirement. Specifically, they assert that (1) the number of people in the class is
   well beyond what other courts have found viable for certification; (2) the future
   stream of class members who will suffer injury absent injunctive relief is
   indeterminate; (3) class certification is crucial for both the preservation of judicial
   resources and ensuring that the putative class members’ claims can be heard, since
   the named plaintiffs’ claims are moot, but the controversy over the constitutionality
   of defendants’ policies and procedures “remains alive” for thousands of people
   affected each year; (4) the vast majority of putative class members lack financial
   resources to bring separate lawsuits; and (5) adjudicating this case through
   individual lawsuits would strain judicial resources. Doc. no. 327, ECF pp. 14-19.
   In their papers, defendants do not take issue with plaintiffs’ ability to satisfy the
   numerosity requirement. The court concludes, quite readily, that plaintiffs have
   satisfied the numerosity requirement.
         Plaintiffs have presented evidence through the report of their data expert, Dr.
   Jennifer Copp, which shows that between September 1, 2019 and June 15, 2020,
   there were over 4,000 bookings into the Tulsa County jail which had secured money
   bail amounts assigned, and among those bookings, over 800 persons were detained
   continuously throughout the entirety of the pre-disposition period. Doc. no. 327-6,
   ¶ 36. Plaintiffs have also presented evidence through the deposition testimony of
   an assistant public defender, Stuart Southerland, that “about 30 people” appear on
   the Tulsa County bond docket every day.              Doc.no. 327-4, p. 51, l. 23.

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    Additionally, according to defendants themselves, “there are thousands of pre-trial
    detainees that flow through Tulsa County every year.” Doc. no. 334, ECF p. 18, n.
    6. Mindful that “the exact number of potential members need not be shown” and
    the court “may make ‘common sense assumptions’ to support a finding that joinder
    would be impracticable,” Neiberger v. Hawkins, 208 F.R.D. 301, 313 (D. Colo.
    2002), the court finds that the putative class is easily large enough to make joinder
    impracticable.
          In addition to its sufficiently large size, the putative class seeks prospective
    declaratory and injunctive relief and includes unknown future members who will be
    detained in the Tulsa County jail because they are unable to pay the secured money
    bail to obtain their pretrial release. These unknown future class members make
    joinder impracticable. See, Colorado Cross Disability Coalition, 765 F.3d at 1215
    (“[J]oinder of unknown individuals is certainly impracticable, and the fact that the
    class includes unknown, unnamed future members also weighs in favor of
    certification.”) (quoting Pederson v. La. State Univ., 213 F.3d 858, 868 n. 11 (5th
    Cir. 2000) (other quotation marks and citation omitted)). Also, common sense
    suggests that the fact that the putative class members are detained in the Tulsa
    County jail because they are unable to pay their secured money bail makes individual
    lawsuits by the putative class members unlikely. See, Neiberger v. Hawkins, 208
    F.R.D. 301, 314 (D. Colo. 2002) (the financial situation of institutionalized patients
    makes individual suits unlikely). Further, the court concludes that judicial economy
    will be served by proceeding with one class action, rather than by way of individual
    lawsuits. Id.




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    Commonality
           To satisfy the commonality requirement, plaintiffs must demonstrate that
    “there are questions of law or fact common to the class.” Rule 23(a)(2), Fed. R.
    Civ. P. In Wal-Mart Stores, Inc. v. Dukes, supra., the Supreme Court explained
    that Rule 23(a)(2) “requires the plaintiff to demonstrate that class members have
    suffered the same injury.” 564 U.S. at 349-351 (quotation marks and citation
    omitted). In addition, the class members’ “claims must depend upon a common
    contention.” Id. at 350. This common contention “must be of such a nature that it
    is capable of classwide resolution–which means that determination of its truth or
    falsity will resolve an issue that is central to the validity of each one of the claims in
    one stroke.” Id.; see also, Menocal v. GEO Group, Inc., 882 F.3d. 905, 914 (10th
    Cir. 2018) (quoting Wal-Mart Stores, Inc., 564 U.S. at 350). “What matters to class
    certification … is not the raising of common questions–even in droves–but rather,
    the capacity of a class-wide proceeding to generate common answers apt to drive
    the resolution of the litigation.” Wal-Mart Stores, Inc., 564 U.S. at 350 (emphasis
    in original; quotation marks, alterations and citation omitted). If it satisfies these
    requirements, “even a single common question will do.” Id. at 359 (quotation
    marks, alterations and citation omitted); see also, Devaughn, 594 F.3d at 1195 (“A
    finding of commonality requires only a single question of law or fact common to the
    entire class.”).
           Plaintiffs contend that the claims asserted on behalf of the class include
    common questions of fact or law that satisfy the commonality requirement.
    According to plaintiffs, important common questions of fact include: (1) whether
    defendants have a policy and practice of determining the amount of money necessary
    to secure a person’s release following arrest without making an individual
    determination as to the person’s ability to pay; (2) whether defendants implement a
    pre-arraignment detention scheme without findings as to ability to pay, the adequacy

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    of non-financial conditions, and the necessity of detention; and (3) whether
    defendants allow for release of persons following arrest upon upfront payment of
    predetermined amounts of money, and deny release to people who are unable to pay
    predetermined amounts of money. Doc. no. 327, ECF p. 20. Common questions
    of law include:    (1) whether it violates due process and equal protection to
    determine the amount of money necessary to secure a person’s release following
    arrest without an individualized determination of the person’s ability to pay and (2)
    whether an unaffordable secured financial condition of release operates as a de facto
    order of detention that can be imposed only with the substantive findings and
    procedures that due process requires before an order of detention can issue. Id. at
    ECF pp. 20-21. Plaintiffs contend that the class members’ claims stand or fall on
    the basis of resolution of issues relating to defendants’ policies and practices toward
    all class members.     Resolving plaintiffs’ contentions as to those policies and
    practices, they argue, will resolve an issue that is central to the validity of each of
    the claims plaintiffs assert (count one and count two in the Second Amended Class
    Action Complaint) in one stroke. The court agrees.
          The putative class members’ claims involve common contentions concerning
    Tulsa County’s pretrial detention system, and the adjudication of the merits of those
    contentions will resolve issues central to the validity of their claims. The common
    questions identified by plaintiffs, the existence of which is not specifically disputed
    by defendants, will generate common answers to resolve the litigation.
          The court additionally finds that the putative class members are at risk of the
    same constitutional injury–detention for inability to pay the secured money bail
    without an ability-to-pay determination or due-process compliant procedures and
    judicial findings. And while defendants cite differences among class members, i.e.,
    arrested with or without warrants, these differences will have no bearing on the



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    common questions of fact and law identified by the plaintiffs and found by the court
    to exist.
           The court also concludes that the alleged injuries of the named plaintiffs are
    the same as the putative class members. Mr. Feltz was detained after his arrest
    because he could not pay the secured money bail that was assigned to him without
    an individualized determination of his ability to pay that amount, and he was without
    the prospect of any hearing at which due-process compliant procedures would be
    followed and findings would be made. Although Mr. Dennis was arrested after the
    state court’s adoption of amended Local Criminal Rule 2, the record shows that Mr.
    Dennis was detained because he could not pay the secured money bail that was
    assigned to him without an individualized determination of his ability to pay that
    amount, and then at his bond docket hearing, held the day after his arrest, Mr. Dennis
    was not provided the due process-compliant procedures and findings that plaintiffs
    and the putative class members contend were constitutionally required.
           In their papers, defendants assert that plaintiffs’ class definition, which
    includes a class of people detained after arrest because “they are unable to pay a
    secured financial condition of release,” fails the commonality requirement because
    it encompasses persons who may have never been poor or indigent. According to
    defendants, “there is always some individual limit to each person’s capacity to pay
    money, thus eliminating commonality.” Doc. no. 334, ECF p. 21. Defendants
    maintain that determining which pretrial detainees are jailed because they are unable
    to pay would require individualized assessments. The court disagrees.
           Initially, courts have concluded that indigency is not required for an ability-
    to-pay inquiry. See, Cain v. City of New Orleans, 327 F.R.D. 111, 124 (E.D. La.
    2018) (“[A] putative class member’s right to an ability-to-pay inquiry does not
    depend on indigence[.]”); see also, Baker v. City of Florissant, 4:16-CV-1693 NAB,
    2023 WL 1434261, at *12 (E.D. Mo. Feb. 1, 2023); Fant v. City of Ferguson,

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    Missouri, 4:15-CV-00253-AGF, 2022 WL 2072647, at *9 (E.D. Mo. June 9, 2022).
    Nonetheless, the court concludes that the putative class is adequately limited to poor
    or indigent persons, given that “‘most people would not willingly remain
    incarcerated if their financial circumstances permitted them to avoid it.’” Webb v.
    City of Maplewood, Missouri, 340 F.R.D. 124, 139 (E.D. Mo. 2021) (quoting Dixon
    v. City of St. Louis, No. 4:19-CV-0112-AGF, 2021 WL 616153, at *7 (E.D. Mo.
    Feb. 17, 2021)); see also, Baker, 2023 WL 1434261, at *12; Fant, 2022 WL
    2072647, at *9. Additionally, the court notes that other district courts have certified
    classes with similar class definitions. See, Dixon, 2021 WL 616153, at *2; Daves
    v. Dallas County, Texas, 3:18-CV-0154-N, 2018 WL 4537202, at *1 (N.D. Tex.
    Sept. 20, 2018). Further, as pointed out by plaintiffs, defendants appear to confuse
    commonality with ascertainability. Although ascertainability is not a criterion for
    a Rule 23(b)(2) class, see, Shook I, 386 F.3d at 972, the court concludes that
    plaintiffs have adequately demonstrated that an inability to pay the predetermined
    secured money bail is a reliable objective criterion for ascertainability, and that the
    identities of individuals who remain detained in the Tulsa County jail on secured
    money bail are ascertainable from defendants’ records.
          Defendants further contend that the commonality requirement is not met
    because any alleged deficiency in a bond docket hearing may not be the same for
    any two criminal defendants appearing before the same special judge or different
    special judges. According to defendants, plaintiffs have not submitted evidence
    that the bond docket hearings are improper on a large scale. However, the court
    concludes that plaintiffs have sufficiently demonstrated through evidence in the
    record that the bond docket hearings do not provide the due-process compliant
    procedures and findings that they argue are constitutionally required.




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    Typicality
          To satisfy the typicality requirement, plaintiffs must establish that “the claims
    or defenses of the representative parties are typical of the claims or defenses of the
    class.” Rule 23(a)(3), Fed. R. Civ. P. The typicality requirement does “not require
    that every member of the class share a fact situation identical to that of the named
    plaintiffs.” Colorado Cross Disability Coalition, 765 F.3d at 1216. Rather, the
    requirement is met “‘so long as the claims of the class representative and class
    members are based on the same legal or remedial theory.’” Menocal, 882 F.3d at
    914 (quoting Colorado Cross Disability Coalition, 765 F.3d at 1216).
          Here, plaintiffs have demonstrated that while there may be some factual
    differences, their claims and those of the putative class members are based on the
    same legal and remedial theories.
          In their papers, defendants contend that Mr. Feltz and Mr. Dennis cannot meet
    the typicality requirement because their claims are subject to unique defenses. A
    unique defense may destroy typicality if that defense “‘is likely to become a major
    focus of the litigation.’” In re Crocs, Inc. Securities Litigation, 306 F.R.D. 672, 687
    (D. Colo. 2014) (quoting Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 599 (3d
    Cir. 2012)). The reason why a unique defense is detrimental to the class is because
    the named plaintiffs “‘might devote time and effort to the defense at the expense of
    issues that are common and controlling for the class.’” Id. (quoting Beck v.
    Maximus, Inc., 457 F.3d 291, 297 (3d Cir. 2006)).
          Initially, defendants assert that Mr. Feltz’s claims are subject to the unique
    defenses of standing and mootness. The court, however, has previously rejected
    those defenses.    See, doc. no. 306.     With respect to mootness, the court has
    determined that the inherently transitory exception applies. Id. Defendants have
    not articulated any reason for the court to revisit its determinations as to standing or
    mootness. They have not shown a significant likelihood that those defenses will

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    become a major focus of the litigation. The court is not satisfied that Mr. Feltz’s
    claims are subject to any unique defenses.
          Defendants also assert that Mr. Dennis’s injuries were caused by COVID-19
    protocols, which defendants claim were “unique and rare” and not within their
    control. However, the record shows no evidence of any practices or procedures that
    have changed since Mr. Dennis was arrested in 2020. Therefore, the court cannot
    conclude that Mr. Dennis will be subject to a unique defense, based upon the state
    court’s COVID-19 protocols, which will become a major focus of the litigation.
          In their papers, defendants further contend that Mr. Dennis will have a unique
    issue because he posted bond pursuant to the secured money-bail schedule in his
    2021 criminal case. However, this court has ruled that this case is subject to the
    inherently transitory exception to the mootness doctrine, see, doc. no. 306, and Mr.
    Dennis’s class certification motion relates back to when his complaint was filed, i.e.,
    at the time of his 2020 pretrial detention, and his fitness to serve as class
    representative is assessed in light of his circumstances at that time. See, Sosna v.
    Iowa, 419 U.S. 393, 402 n. 11 (1975); Gerstein v. Pugh, 420 U.S. 103, 110 n. 11
    (1975); Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249 (10th
    Cir. 2011). The court therefore is not persuaded that Mr. Dennis will be subject to
    a unique defense based upon his 2021 criminal case.
          Upon review, the court concludes the interests and claims of Mr. Feltz and
    Mr. Dennis are sufficiently aligned with the interests and claims of the putative class
    such that the typicality requirement is satisfied.
    Adequacy of Representation
          To satisfy the adequacy of representation requirement, plaintiffs must
    demonstrate that the “representative parties will fairly and adequately protect the
    interests of the class.” Rule 23(a)(4), Fed. R. Civ. P.



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          The adequacy of representation inquiry “serves to uncover conflicts of interest
    between named parties and the class they seek to represent.” Amchem Products,
    Inc. v. Windsor, 521 U.S. 591, 625 (1997).           Thus, to be an adequate class
    representative, the “representative must be a part of the class and possess the same
    interest and suffer the same injury as the class members.” Id. at 625-626 (quotation
    marks and citations omitted).
          In Rutter v. Wilbanks Corp. v. Shell Oil Co., 314 F.3d 1180, 1187-88 (10th
    Cir. 2002), the Tenth Circuit identified two questions that are relevant to the
    adequacy of representation inquiry: “(1) do the named plaintiffs and their counsel
    have any conflicts of interest with other class members and (2) will the named
    plaintiffs and their counsel prosecute the action vigorously on behalf of the class?”
    After that decision, subdivision (g) was added to Rule 23, which deals specifically
    with the adequacy of counsel. See, Rule 23(g), Fed. R. Civ. P.; see also, Advisory
    Committee Notes to 2003 Amendments (“Rule 23(a)(4) will continue to call for
    scrutiny of the proposed class representative, while this subdivision [Rule 23(g)] will
    guide the court in assessing proposed class counsel . . . .”). Therefore, the court will
    consider plaintiffs’ adequacy for purposes of satisfaction of Rule 23(a)(4)’s
    adequacy of representation requirement, and it will address counsel’s adequacy
    when considering the appointment of class counsel.
          In their papers, defendants assert that their arguments as to plaintiffs’ ability
    to satisfy the adequacy of representation requirement are the same as those relating
    to the commonality and typicality requirements. The court concludes that those
    arguments fail for the reasons previously stated. Moreover, the court discerns no
    conflict of interest between plaintiffs and the putative class members. The record
    convinces the court that plaintiffs will prosecute the action vigorously on behalf of
    the class.   Plaintiffs have sat for depositions and have shown they possess a



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    fundamental understanding of the case. Thus, the court concludes that plaintiffs
    have demonstrated the adequacy of representation requirement.
          To recapitulate, a class action may be certified only if all four threshold
    requirements of Rule 23(a)(3) are satisfied. Adamson, 855 F.2d at 675. For the
    reasons stated, the court concludes that plaintiffs have demonstrated that the four
    threshold requirements of Rule 23(a) are met.
    Rule 23(b)(2)
          In addition to satisfying the requirements of Rule 23(a), a party seeking
    certification “must also satisfy through evidentiary proof at least one of the
    provisions of Rule 23(b).” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).
    Here, the provision at issue is Rule 23(b)(2). Rule 23(b)(2) authorizes certification
    where “the party opposing the class has acted or refused to act on grounds that apply
    generally to the class, so that final injunctive or corresponding declaratory relief is
    appropriate respecting the class as a whole.” Rule 23(b)(2), Fed. R. Civ. P. As
    explained by the Supreme Court, “Rule 23(b)(2) applies only when a single
    injunction or declaratory judgment would provide relief to each member of the
    class.”   Wal-Mart Stores, Inc., 564 U.S. at 360.        “It does not authorize class
    certification when each individual class member would be entitled to a different
    injunction or declaratory judgment against the defendant.” Id. (emphasis in original).
          The court concludes that plaintiffs have demonstrated that certification under
    Rule 23(b)(2) is appropriate. First, plaintiffs have shown that defendants have acted
    on grounds that apply generally to the class. Specifically, plaintiffs have shown that
    defendants detain and jail individuals, post-arrest, because they cannot afford to pay
    secured money bail amounts that are assigned to them, all without determinations of
    their ability to pay those amounts, the sufficiency of alternative conditions of release
    and the necessity of pretrial detention. They have also shown that defendants detain
    and jail individuals by imposing unaffordable secured money bail amounts without

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    a hearing, where counsel is appointed, notice and opportunity to be heard and to
    confront evidence is given, and findings are made based on clear and convincing
    evidence that such detention and jail is necessary to serve a compelling interest.
          Second, plaintiffs seek only prospective injunctive and declaratory relief, and
    they have shown that the relief they seek would apply to each member of the class–
    that secured money bail not be used to detain individuals without determinations of
    the ability to pay, the sufficiency of alternatives to release, and the necessity of
    detention, at a hearing where counsel is appointed, notice and opportunity to be heard
    and to confront evidence is provided, and findings are made on the record based on
    clear and convincing evidence.
          The court rejects defendants’ argument that plaintiffs have defined the
    declaratory and injunctive relief sought at a “stratospheric level.” Doc. no. 334,
    ECF pp. 25 and 26. The court concludes that plaintiffs have proposed an injunction
    that would satisfy Rule 65(d), Fed. R. Civ. P. The injunction sought, as set forth in
    the Second Amended Class Action Complaint, see, doc. no. 259, ¶ 141(a), is specific
    and describes in reasonable detail the acts required of defendants. And the class
    members’ injuries can be remedied with the injunction sought without differentiating
    between class members. The same is true of the declaratory relief sought. Further,
    the injunctive and declaratory relief sought by plaintiffs is indivisible, as it would
    benefit all class members at once. The procedural protections and substantive
    findings plaintiffs request would apply in every pre-initial arraignment case before
    an individual could be detained and jailed on secured money bail conditions.
    Need for Class Certification Under Rule 23(b)(2)
          Defendants also contend that the court should deny Rule 23(b)(2) class
    certification because plaintiffs have not shown that it is necessary. According to
    defendants, “to the extent prospective relief would even be available to the named
    Plaintiffs, such relief would apply to all putative class members regardless of

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    whether a class is actually certified, making class based relief unnecessary.” Doc.
    no. 334, ECF p. 28.
          The Tenth Circuit, in the Rule 23(b)(2) context, “has recognized the line of
    authority indicating that a class certification is unnecessary if all the class members
    will benefit from an injunction issued on behalf of the named plaintiffs.” Kan.
    Health Care Ass’n, Inc. v. Kan. Dep’t of Social and Rehabilitation Servs., 31 F.3d
    1536, 1548 (10th Cir. 1994) (quotation marks and citations omitted). However, in
    this case, while plaintiffs’ claims have become moot, there is still a live controversy
    for putative class members. Courts have granted Rule 23(b)(2) certification in these
    circumstances. Clay v. Pelle, Civil Action No. 10-cv-01840-WYD-BNB, 2011 WL
    843920, at *7 (D. Colo. March 8, 2011) (acknowledging the Tenth Circuit’s
    necessity ruling but concluding that “[w]hereas an individual prisoner’s claim for
    injunctive relief may become moot before the court can grant relief, class
    certification, where proper under Rule 23, ensures the presence of a continuing class
    of plaintiffs with a live dispute against prison authorities.”); see also Jackson v. Ash,
    No. 13-CV-2504-EFM, 2014 WL 1230225, at *6 (D. Kan. March 25, 2014) (erring
    on the side of class certification under Rule 23(b)(2) where claims involved “ever-
    changing jail or prison population.”).
    Appointment of Counsel
          An order certifying a class must also appoint class counsel that will adequately
    represent the interests of the class. See, Rule 23(c)(1)(B) and Rule 23(g)(1), Fed.
    R. Civ. P. In appointing counsel, the court must consider “the work counsel has
    done in identifying or investigating potential claims in the action;” “counsel’s
    experience in handling class actions, other complex litigation, and the types of
    claims asserts in the action;” “counsel’s knowledge of the applicable law;” and “the
    resources that counsel will commit to representing the class[.]”                   Rule
    23(g)(1)(A)(i)-(iv). Further, the court “may consider any other matter pertinent to

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    counsel’s ability to fairly and adequately represent the interests of the class.” Rule
    23(g)(1)(B).
            In their papers, defendants do not challenge the appointment of plaintiffs’
    counsel as class counsel for this action. After reviewing the record, the court is well
    satisfied that plaintiffs’ counsel satisfy the criteria of Rule 23(g) and will fairly and
    adequately represent the interests of the class. Thus, counsel for plaintiffs (the
    attorneys of record associated with Still She Rises, Inc., Civil Rights Corps, and
    Hogan Lovells US LLP), will be appointed as class counsel for the action.
                                               Conclusion
            For the reasons stated above, the court ORDERS as follows:
            1.         Plaintiffs’ Motion for Class Certification and Appointment of Class
    Counsel (doc. no. 327 ) is GRANTED.
            2.         The court CERTIFIES a class under Rule 23(b)(2), Fed. R. Civ. P., as
    follows:
                       All people who are or will be detained prior to their initial
                       arraignment in the Tulsa County Jail because they are
                       unable to pay a secured financial condition of release.

            3.         Plaintiffs’ counsel (the attorneys of record associated with Still She
    Rises, Inc., Civil Rights Corps, and Hogan Lovells US LLP) are APPOINTED as
    class counsel.
            Dated this 16th day of March, 2023.




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